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                         UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

 1)      EL NACIONAL DE OKLAHOMA, INC.,

                         Plaintiff,

 v.                                                       Case No. ________________
                                                                    CIV-14-728-D

1)       TRAVELERS CASUALTY INSURANCE
         COMPANY OF AMERICA,

                         Defendant.

                                      NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. '' 1441 & 1446(a) and LCvR 81.2, Defendant Travelers

Casualty Insurance Company of America (hereinafter ADefendant@), hereby gives notice of the

removal of the above-captioned action from the District Court of Oklahoma County,

Oklahoma to this Court. In support of this Notice of Removal, the Defendant states as

follows:

       1.      On May 28, 2014, Plaintiff, El Nacional de Oklahoma, Inc., filed Plaintiff’s

Original Petition in the District Court of Oklahoma County, Oklahoma against the Defendant

Travelers Casualty Insurance Company of America. Plaintiff is a corporation registered in the

State of Oklahoma. Defendant is a foreign corporation doing business in the State of

Oklahoma. On its face, Plaintiff=s Original Petition seeks actual damages in excess of

$75,000 and additional punitive damages in excess of $75,000. Plaintiff=s Original Petition

requests a jury trial.
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       2.     Defendant was served with the Summons and Petition through the Insurance

Commissioner of the State of Oklahoma as the designated agent for service of process of

foreign insurance companies doing business in the State of Oklahoma on July 1, 2014.

       3.     Defendant hereby serves Notice of Removal of this action pursuant 28 U.S.C. '

1446(b). This Court has original jurisdiction over the subject matter of this action pursuant to

28 U.S.C. '1332 because Plaintiff and Defendant are citizens of different states and the

amount in controversy exceeds $75,000.00.

       4.     A copy of the docket sheet, all process, pleadings, papers, and orders served in

the State Court action are attached to this Notice of Removal as Exhibits 1, 2, 3, 4, and 5 as

required by 28 U.S.C. ' 1446(a) and LCvR 81.2.

       5.     Defendant has filed a copy of this Notice of Removal with the District Court for

Oklahoma County, as required by 28 U.S.C. ' 1446(d) and LCvR 81.2. A copy of the Notice

to be filed in the Oklahoma State Court is attached hereto as Exhibit 6.

       WHEREFORE, Defendant hereby removes the above-captioned action now pending in

the District Court of Oklahoma County, Oklahoma to this Court.

       DATED this 10th day of July, 2014.
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                                    Respectfully submitted,

                                    TAYLOR, FOSTER, MALLETT, DOWNS, RAMSEY &
                                    RUSSELL, A Professional Corporation

                                    /s/ Darrell W. Downs, OBA #12272
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                                    Claremore, Oklahoma 74018
                                    Telephone: 918/343-4100
                                    Facsimile: 918/343-4900
                                    Attorneys for Defendant

                              CERTIFICATE OF SERVICE

             I hereby certify that on the 10th day of July, 2014, I electronically transmitted
the attached document to the Clerk of the Court using the ECF System for filing. Based on
the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
the following ECF registrants:

       Sherri R. Katz
       The Voss Law Firm, P.C.
       26619 Interstate 45 South
       The Woodlands, Texas 77380
       sherri@vosslawfirm.com

             I hereby certify that on the  day of                    , 2014, I served
the attached document by U.S. Mail, postage prepaid, on the following, who are not
registered participants of the ECF System:


                                                    /s/ Darrell W. Downs, OBA #12272




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